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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

Peninsula Petroleum Limited,                     )
                                                 )
       Plaintiff,                                )   Civil Action No. ___________________
                                                 )
v.                                               )
                                                 )   District Judge: _____________________
Lukoil Pan-Americas LLC,                         )
                                                 )   Magistrate Judge: __________________
       Defendant,                                )
                                                 )
and                                              )   IN ADMIRALTY
                                                 )
Chevron U.S.A. Inc.                              )
Citgo Petroleum Corporation                      )   PROCESS OF MARITIME
Trafigura AG                                     )   ATTACHMENT AND GARNISHMENT
Trafigura Trading LLC                            )
Exxonmobil Sales and Supply LLC                  )
Valero Marketing and Supply Company,             )
                                                 )
       Garnishees.                               )

To Garnishee:         TRAFIGURA AG
                      Serve on Resident Agent:
                      CT Corporation System
                      4400 Easton Commons Way, Suite 125
                      Columbus, OH 43219

THE PRESIDENT OF THE UNITED STATES OF AMERICA

UNITED STATES MARSHAL FOR THE SOUTHERN DISTRICT OF OHIO

GREETING:

       WHEREAS, on October 12, 2022, Plaintiff filed a Verified Complaint against Defendant
Lukoil Pan-Americas LLC for reasons in said complaint mentioned for the sum of at least
$437,310.70 (herein, the “Garnishment Amount”) and praying for process of marine attachment
and garnishment against the property of said Defendant; and

        WHEREAS, this process is issued pursuant to such prayer and requires that Garnishee
shall serve Garnishee’s answer within twenty-one (21) days after service of process upon the
Garnishee and requires that Defendant shall serve its answer within thirty (30) days after process
has been executed, whether by attachment of property or service on the Garnishee,
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       NOW, THEREFORE, you are hereby commanded that if the said Defendant cannot be
found within the District you are directed to attach and garnish the property indicated below and
how you shall have executed this process, make known to this Court with your certificate of
execution thereof written:

                                       DESCRIPTION

              All goods, chattels, credits and effects, tangible or intangible
              property of Lukoil Pan-Americas LLC or any other funds held on
              behalf of Lukoil Pan-Americas LLC by Garnishee.

WITNESS THE HONORABLE Judge of said Court, in said District, this ___ day of October
2022.

                                     Richard W. Nagel, CLERK



                                     BY:    _______________________
                                            Deputy Clerk


NOTE: This process is issued pursuant to Rule B(1) of the Supplemental Rules for Certain
Admiralty and Maritime Claims of the Federal Rules of Civil Procedure.




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